EXHIBIT D
                               CERTAINTY MANAGEMENT
                        The Visa/Mastercard Settlement Transcription

Hi there, my name is Patrick Laing. I’m the founder and CEO of Certainty Management. We’re a
veteran-owned profit consulting firm headquartered in Henderson, Nevada. We have associates
across the country and clients in all 50 states. There’s a very good chance you’ve met one of our
associates who are across the U.S., from coast to coast.

Now we’re a profit-consulting firm. We’re constantly looking for ways to help our clients improve
their profitability, to help them make more and keep more. To drive more dollars to their bottom
line. We do this in several different ways. We have seven different divisions. Now one of those
divisions is what we call a Recovery Division. Through this, we help you access tax credits, R&D
credits, grants and so forth that are waiting for you. There are millions even billions of dollars out
there if you know how to go and recover your share. We are experts at recovery.

One project we’re working on now is an enormous Visa/Mastercard settlement. It’s a class action
suit that’s been going on for 20 years. It’s gone through all the appeals and now it’s available to
opt into if you are a merchant who accepted Visa/Mastercard between 2004 and 2019.
Visa/Mastercard settled this suit for 5.6 billion dollars at the end of 2023. It’s grown now to about
$6.1 billion and they’ve extended the opt-in period to February 4th, 2025. Well we were invited
to share this with our clients. We’ve put it on our website. We’ve gotten the word out. We’ve
helped hundreds of customers opt into this program. Understand this is an opt in class action suit,
it’s not an opt out. We’ve all gotten those notices of a drug we took 20 years ago or an apartment
we lived in that maybe had asbestos or something and there’s $2.35 cents is going to come to us if
we don’t opt out. Well this is just the opposite. This is what’s called an opt in class action suit.
You have to opt in to participate.

As of the time of this recording, we have only about 2.1% of all merchants nationwide who have
opted in. This is a $6.1 billion payout as of the time of this recording and again only about 2% of
the merchants have officially opted in to receive their share. If you haven’t opted in yet it’s waiting
for you. All you have to do is go to the website listed below in the description, fill in your
information, and we’ll send you the DocuSign agreement from our fintech partner who is the
facilitator of this settlement. It’s your money. It’s waiting for you. [It] covers from 2004 to
2019, . . . it sounds too good to be true, I know it does sound a little bit incredible, but it’s real.
You can do the research. . . . [T]here’s a Reuters article that’s listed there, and look us up. We’re
a very real company . . . I’m the owner of Certainty Management also co-founder of a company
named Certainty Global, another name Certainty Holdings. I’m also the headliner host of the
Voice American am business radio show, Finding Certainty. We would not put our name or our
reputation behind a project like this that isn’t real. You can trust that. Welcome to reach out to us
personally. Get back to whomever shared this video with you. Happy to answer any questions
you have, and show you how it works, and show you how you, and those you care for, can benefit
from this as well. Thanks for, uh, watching this video. We look forward to speaking with you.
Please don’t miss out on this opportunity. It could be a big, a big blessing to you, and to anyone
you know who accepted Visa/Mastercard during that time periods, about 15-year period, 2004 to
2019. Thanks so much. I’ll talk to you later. Take care of yourself and bye for now.
